Case: 1:21-cv-00103-MRB Doc #: 46-2 Filed: 10/29/21 Page: 1 of 3 PAG

 

DECLARATION OF LAWRENCE DEAN

 

I, LAWRENCE DEAN, being more than age eighteen and competent to testify about the
matters contained herein, hereby declare and state as follows upon personal knowledge and

information:

1,

I am currently employed as an Assistant Store Manager (“ASM”) at Kroger No.
Store 962 in the Indianapolis, Indiana area. I have been at this store for two weeks.
Previously, I was an ASM at Kroger Store Nos. 118, 905, 921, and 110. I have
worked for Kroger as an ASM since December 2016.

There were two to three ASMs at Stores 921 and 110 where I worked for the past
3.5 years (2 years at Store No. 921 and 1.5 years at Store No. 110).

At the various stores where I have been as ASM, I have been in charge of the store
when the Store Manager is not present. For example, when I worked at Store 921,
the Store Manager was out on leave for several months and I took over her
responsibilities while she was gone. I also was the only person managing the store
approximately 10 to 30 hours per week at Store 921 and approximately 20 to 30
hours per week at Store 110. This includes when the Store Manager is working
different shifts or when the Store Manager is on vacation. I am in charge of
everything that goes in the store during those times.

[usually opened the stores I have worked in approximately two days per week. I
first check the Fuel Center, then check sales numbers, check the Front End to make
sure it is ready for the day, check each of the departments to ensure they have what
they need, and go over daily plans with the Department Leaders.

I usually worked a closing shift approximately three times per week in the stores ]
have worked in. I check each department to make sure each is in good condition,
make sure we have proper staffing for the night, do pit checks to make sure there
are no equipment defects, check end caps and displays, and oversee the closing of
registers. I provide oversight to make sure the store is ready for the next day.

I assist with scheduling of associates. Some Department Leaders handle their own
scheduling for their respective departments and in such cases I will review
schedules and provide feedback to the Department Leaders when necessary. I also
set the associate vacation schedule and handle time off requests in accordance with
the union contract.

I call daily associate huddles with associates where we talk about sales, talk about
ways to improve, provide new information, highlight issues, celebrate associate
birthdays, etc. During such huddles, I also provide general feedback to associates.
We try to keep the huddles positive.
Case: 1:21-cv-00103-MRB Doc #: 46-2 Filed: 10/29/21 Page: 2 of 3 PAGEID #: 2355

8. I perform daily store walks. On my walks, I see what needs to be done and make
sure things are running properly. I observe associate behaviors and provide
coaching and feedback. I also “put out any fires” that may have arisen.

9, I ensure that Department Leaders are following the rotation calendar relating to
expiring items,

10. I manage the process for product markdowns and have the authority to do
markdowns.

11. L analyze reports, including shrink reports, and cover with the Department Leaders
what needs to be accomplished as a result of such reports.

12. I train associates by showing them how to complete certain tasks and providing
information and guidance on new items, tools, and equipment that we utilize as part
of store operations.

13. [ have the authority to interview and hire associates for the store. I do not need to
seek the approval of my Store Manager to make hiring decisions.

14. I manage associate performance, I have conducted performance reviews of new
hires. I have also conducted performance reviews of Department Leaders and have
also given input to my Store Managers relating to performance reviews of
Department Leaders.

 

15. T have the authority to manage associate discipline. I can issue verbal coachings,
verbal warnings, written warnings, and progressive discipline without seeking input
from others, I have the discretion to determine what discipline is appropriate. I can
also terminate employees without seeking approval. I usually inform my Store
Manager when I have issued any disciplinary actions just to keep them in the loop.

16. As a manager, I also have access to the HUB for purposes of requesting
maintenance on equipment. Only managers and some Department Leaders have
access to the HUB.

 

17. Lensure that safety is maintained in the store.

18. TL rarely perform non-managerial tasks. I never act as a cashier. I will sometimes
assist with bagging groceries, but am usually using bagging as a tool for observing
the work of Front End associates. I estimate I engage in bagging groceries
approximately 5 hours out of the more than 50 hours per week that I work. I usually
do not stock shelves. The only exception is during a time when we did not have a
night clerk and the work needed to be done, so I assisted with stocking until a new
clerk was hired. No one tells me to perform these duties; I did them on my own
after spotting that there was an issue. At all times, I am still performing my
managerial duties.

 
Case: 1:21-cv-00103-MRB Doc #: 46-2 Filed: 10/29/21 Page: 3 of 3 PAGEID #: 2356

19, My goal is to ensure that our customers are properly served, I knew what I was
getting into when I took the job as an ASM. At this level, I am able to exercise
independent thought and figure out what needs to be done.

20. I have reviewed all of the typewritten text in this document.
21. Lacknowledge that I have provided this declaration of my own free will, that I
was not under any obligation to do so, and that I was not pressured to do so by

any individual or entity.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the
United States of America that the foregoing is true and correct.

Iptun C2
ecitee Lilet
Signature

Lawrie’ Dew,

Printed Name

 

Executed on this } | day of October, 2021.

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